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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                          MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                           Case No. C-07-5944 JST

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                                        This Order Relates To:                                 ORDER TO SHOW CAUSE RE:
                                  10                                                           CERTAIN RECENT FILINGS
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13           On February 4, 2016, the Indirect Purchaser Plaintiffs (“IPPs”) filed two lengthy briefs on

                                  14   the docket, along with supporting materials. See ECF No. 4370, 4373. These documents urge the

                                  15   Court to approve the pending IPP settlement and the related motion for attorneys’ fees.

                                  16           The motion to which these filing relate were submitted to Special Master Martin Quinn for

                                  17   review. He has since produced a Report and Recommendation (“R&R”), ECF No. 4351, dated

                                  18   January 28, 2016. The next step is for the Court to resolve any timely objections that are filed in

                                  19   response to the R&R. Objections are due by February 12, 2016, and responses to those objections

                                  20   are due by February 23, 2016. See ECF No. 4286 at 2. The IPPs’ recent briefs do not respond to

                                  21   any objection to the R&R, or even mention the R&R. They appear to be a rehash of the

                                  22   documents that were submitted to Special Master Quinn. It is not clear how these documents are

                                  23   intended to assist the Court in moving the case toward resolution.

                                  24           Accordingly, the Court ORDERS the IPPs to SHOW CAUSE why the Court should not

                                  25   strike the briefs at ECF Nos. 4370 and 4373, and any supporting documents, from the docket.

                                  26   Any written response to this Order must be filed by February 16, 2016. No response is required,

                                  27   but if none is filed, the Court will strike the subject filings.

                                  28   ///
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                                   1          The IPPs remain free, of course, to file a timely objection to the R&R if they wish, and to

                                   2   respond to any objections filed by other parties.

                                   3          IT IS SO ORDERED.

                                   4   Dated: February 8, 2016
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                                   5
                                                                                                         JON S. TIGAR
                                   6                                                               United States District Judge

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Northern District of California
 United States District Court




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